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In the Matter of:
Edward Sullivan V.

Town of Walpole, et.al.

 

 

Lee Tobey
August 18, 2022

 

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1 that? i A. That was what she said to me, correct.
2 A. No. What | -- all | did was call DCF 2 Q. Did she tell -- did she give you any
3 because after | talked to QR what was 3 details of what she had seen before, other
4 told to me what -- how Qi was 4 bruising or what other physical
5 exhibiting physically, you know, and I'm 5 manifestations did she describe, if any?
6 obligated to report any suspected 6 A. | don't recall exactly what she described
7 incidences of child abuse to DCF, and then 7 to me. It was a few years ago, but | know
8 DCF took it from there. 8 from what | do remember she described that
9 Q. Okay. Let me ask you this, Ms. Tobey. 9 this was not the first time that she had
10 When you received the initial report, who 10 had some concerns. 9 -- this is what
11 did you receive it from? 11 told me.
12 A. Um, Kyle - 12 Q. Okay. Now did you ask ij, or were you
13 Q. She was -- 3 aware if there were any other persons that
14 (Reporter asked for clarification) 14 were privy to this observation or
15 A. @iBwas the person who gave me the initial 15 conversation she -- that @§i& had with
16 information. 16 ‘@ggi.on that day on that specific day?
17 Q. And how did € get to your office? Did 17 A. | don't remember. | probably did, but |
18 someone bring her up there? 18 don't remember. | can't tell you, say yes
19 A. From what | remember, it was the counselor 19 or no.
20 that brought her up there. 20 Q. Are you familiar with the student at the
21 Q. And who was that person? 21 Walpole High School during that time frame
22 A. Allison Wilson. 22 ?
23 Q. And is it your understanding that 23 A. The name sounds familiar, but | don't
24 Allison Wilson was the first school 24 believe | spoke with her.
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1 department employee to have received that 1 Q. Okay. Did KyieGonidn ever bring her name
2 information from M f 2 up to you as having been a percipient
3 A. It was either Allison Wilson or Rachel 3 witness to her alleged conversation with
4 Jackson who was our school nurse. 4 GSES ullivan?
5 Q. And when this -- well, when Ms. ii, came 5 A. | don't remember. I'm sorry.
6 to you, could you tell me what she reported 6 Q. You don't remember. Okay. After (i made
7 to you? 7 this report to you did you -- well, what
8 A. From what | can remember it was that Gb 8 did you do rather, | should say?
9 had bruises on her and that this had 9 A. | talked to §§§§MIB so Allison Wilson came
10 happened a number of times over the course 10 up with @iiiiia to my office. She was her
11 of them knowing each other and that this 11 school counselor at the time. Gia cid
12 time she was more concerned about what had L2 have bruises. @MMB's explanation was
13 happened because GMs had said to her 13 different from (iii What"@j&had said
14 something along the lines -- and this is 14 to me, is explanation was different.
15 not verbatim -- you know, It's okay, I'll 15 Again, | don't remember the exact language,
16 be out of the house in a couple of years, 16 but it was not -- she said that she got it
17 you know, it happens to me, but at least it 17 from an accident or something with her
18 doesn't happen to the other kids. 18 brother, but ie report and the bruise
19 That was what was reported to me 19 pattern that | saw on her, you know, it's
20 by Wand, again, that's not verbatim, 20 not my job to determine whether or not
21 but that's the essence of what was reported 21 those two things are true or not. It was
22 to me. 22 concerning enough that we called. | filed
23 Q. Buf@A said that she had seen this -- 23 a SiA.
24 seen evidence of this before? 24 Q. Okay. So you don't have any medical

 

 

 

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1 training, correct? 1 the chief, and it's really bad that | can't
2 A. No, not at all. 2 think of his name at the moment.
3 Q. Okay. And sodas gave you a different 3 Q. Sergeant Kelleher?
4 explanation as to where this bruise had 4 A. Yeah, it might have been Rich, yeah.
5 come from than correct? 3 Q. Are you certain of that or not?
6 A. Correct. 6 A. I'm not certain. | know Michael Benner
7 Q. Can you hear me? ad was -- Officer Benner was one of them.
8 A. Yes. | said correct. 8 Q. Was he the first one there?
9 Q. My screen -- the screen just jumped. | 9 A. | don't recall which order people came in.
10 just wanted to make sure that it was still 10 Q. All right. Well, in any event when
11 connected. Okay. At some point -- well, 11 Detective Benner arrived, did you have a
12 you said you called, you notified DCF, 12 conversation with him?
13 correct? 13 A. Probably. | don't recall exactly what my
14 A. Correct. 14 conversation was.
15 Q. Did you notify anybody else? 15 Q. Well, did you relay to the Walpole police
16 A. Initially | called DCF and that was it. 16 what had been reported to you in your
17 That's protocol. If we have any suspected 17 conversation with ullivan?
18 evidence of child abuse, we call DCF. 18 A. | don't -- | don't remember. Probably, but
19 Q. Okay. But did you notify the Walpole 19 also that | had called DCF and DCF --
20 police? 20 because our DCF office is in Arlington, it
21 A. | think eventually I did call them so | 21 takes -- took a significant amount of time
22 don't remember the exact order in which or 22 for them to get out to the high school, and
23 how -- yeah, the exact procedure in which 23 it may have been within those
24 it happened. It may have been that Glia 24 intervening -- within that intervening time
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i was out at football practice because she i. that they came in. | -- | do not remember
2 played football and our -# one of the 2 the exact procedure of the afternoon.
3 coaches is also her SRO so a member of the 3 Q. Okay. When you made the observations of
4 Walpole Police Department and so | don't 4 iim you said you saw bruising on her
5 remember exactly how they got involved. | 5 face?
6 just know that Officer Hart was out with 6 A. | did.
7 her and brought iis in because it all 7 Q. Did you refer to the school nurse for an
8 happened after school, and she was at a 8 examination?
9 practice. 9 A. | don't recall. | may have. That's
10 Q. Okay. So you don't recall if you, 10 typical -- typically how | would proceed,
11 yourself, actually called the Walpole 11 but I can't say that with any level of
12 police? 12 confidence that that's definitely what |
13 A. | honestly don't remember if | called them 13 did that day.
14 myself. 14 Q. Okay. Well, if you did refer her to the
15 Q. Well, at some point did the Walpole police 15 school nurse, the nurse would have to make
16 arrive at the high school? 16 some record of examining Qi per policy,
17 A. Yes. That 1 do remember. 17 correct?
18 Q. Do you remember who the officers were that 18 A. Yes.
19 arrived? 19 Q. She would have to document it that she
20 A. | know that Mike Benner was one of them. | 20 saw --
21 don't remember who else. 21 A. Correct.
22 Q. Was there another officer with him? 22 Q. -- the student and she would have to
23 A. Yes. I can't think of his name right now, 23 document what observations she made of the
24 but I think he's the gentleman who is now 24 student.

 

 

 

 

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